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                      UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF VIRGINIA
                           Alexandria Division



 INTERSECTIONS INC., et al.,              )
                                          )
             Plaintiffs,                  )
                                          )
       v.                                 )Civil Action No. 1:09cv597
                                          )
 JOSEPH C. LOOMIS, et al.,                )
                                          )
             Defendants.                  )


                                    ORDER


       THIS MATTER came before the Court on plaintiff’s Motion for

 Leave to File a Replacement Memorandum of Law (Dkt. 108).

       UPON CONSIDERATION thereof, it is hereby

       ORDERED that plaintiff’s Motion is GRANTED.

       ENTERED this 16th day of February, 2010.




                                                           /s/
                                            THERESA CARROLL BUCHANAN
                                            UNITED STATES MAGISTRATE JUDGE

 Alexandria, Virginia
